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                              UNITED STA TES DIST RICT CO URT
                              SO UTH ERN D ISTRICT O F FLOR ID A
                        CA SE N O.:18-80395-CIV-M IDD LEBROO KS/Brannon

   JUAN C.VELASQUEZ ANDRES,
          Petitioner,



   JU DGE JAN ICE BRU STARES KEYSTER ,

          Respondent.




          TH IS CAU SE is before the Court on Petitioner's t'Com plaint for Violation of Civil

   Rightsand Petition forEmergency Hearing forlnjunction,''filed on M arch 27, 2018. (DE 1).
  The Petitioneristhefatherofa minorchild who ispending deportation and theRespondentisa
                                                                         ,

  Palm Beach County CircuitJudge. Thepetition seeks reliefunder42 U .
                                                                     S.C.j 1983.
         The petition alleges that in February of 20l8, the Respondent,in connection w ith her

  handling of a state fam ily court case, m ade certain rulings that now operate to prevent

  Petitioner's m inor child from seeking Speciallm m igrant Juvenile Status in the U nited States.

  The pd ition seeks em ergency relief because the child is presently in rem ovalproceedings and

  m ust apply for special protected status in advance of his next scheduled appearance in

  lm m igration Court,w hich w ill occur on Septem ber 26, 2018. The petition further states that

  should this Court deny relief, Plaintiff will require sufficient tim e in advance of the child's

  Septem bercourtdateto seek appellatereview .
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         Although the circum stances do not rise to the Ievelof an em ergency the Courtagrees
                                                                             ,

  that an expedited disposition ofthis matter is appropriate. The Court willschedule briefing

  and/orhearingsaccordingly,and w illdo so by separate Order.

         DON E AN D O RD ERED in Cham bers in W est Palm Beach, Florida,this 29th day of

  M arch,2018.


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                                                          Donald M .M iddlebrooks
                                                          United StatesD istrictJudge
  Copies to: CounselofRecord




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